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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

Criminal Case No: 17-cr-135-RBJ

UNITED STATES OF AMERICA,

              Plaintiff,
v.

     1. JERRELL BIRCH,
              a/k/a “Rell,”
     2. PIEA BENNETT,
     3. SHAMAR CAMERON,
     4. SHARIA CROWLEY,
     5. CLARENCE DEARING,
              a/k/a “Deon,”
     6. TERRY DUNLAP,
              a/k/a “Terry Barlow,”
     7. FERNANDO DURAN,
     8. DANIEL EPPERSON,
     9. ALICIA HOLLANDS,
     10. JOHNNY LOVE
              a/k/a “J-Love,”
     11. MALCOLM RICHARDSON,
              a/k/a “Trig,”
     12. ROBERT ROSEBERRY,
              a/k/a “Cereus Loc,”
     13. LAKEISHA SMITH,
              a/k/a “Keisha,”
     14. OMAR TURNER,
              a/k/a “O,”
                                  Defendants.
        ________________________________________________________________________
                                     INDICTMENT
                                      18 U.S.C. §2
                               18 U.S.C. §924(c)(1)(A)(i)
                                  21 U.S.C. '841(a)(1)
                              21 U.S.C. '841(b)(1)(B)(iii)
                                21 U.S.C. '841(b)(1)(C)
                                   21 U.S.C. '843(b)
                                     21 U.S.C. '846
                                     21 U.S.C. '853


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THE GRAND JURY CHARGES:

                                      COUNT ONE


       On or about and between September 1, 2016 and March 31, 2017, both dates being

approximate and inclusive, within the State and District of Colorado and elsewhere, the

defendants,

                                      JERRELL BIRCH,
                                            a/k/a “Rell,”
                                      PIEA BENNETT,
                                      SHAMAR CAMERON,
                                      SHARIA CROWLEY,
                                      CLARENCE DEARING,
                                            a/k/a “Deon,”
                                      TERRY DUNLAP,
                                            a/k/a “Terry Barlow,”
                                      FERNANDO DURAN,
                                      DANIEL EPPERSON,
                                      ALICIA HOLLANDS,
                                      JOHNNY LOVE
                                            a/k/a “J-Love,”
                                      MALCOLM RICHARDSON,
                                            a/k/a “Trig,”
                                      ROBERT ROSEBERRY,
                                            a/k/a “Cereus Loc,”
                                      LAKEISHA SMITH,
                                            a/k/a “Keisha,” and
                                      OMAR TURNER,
                                            a/k/a “O,”



and others both known and unknown to the Grand Jury, did knowingly and intentionally conspire

to distribute, and possess with the intent to distribute, one or more of the following controlled

substances: (1) a mixture and substance containing a detectable amount of cocaine, and (2) 28

grams or more of a mixture and substance containing a detectable amount of cocaine base (crack

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cocaine), both Schedule II controlled substances, in violation of Title 21, United States Code,

Sections 841(a)(1), 841(b)(1)(B)(iii) and 841(b)(1)(C).

       All in violation of Title 21, United States Code, Section 846.



                                         COUNT TWO

       On or about September 29, 2016, within the State and District of Colorado, the defendant,

                              CLARENCE DEARING,
                                   a/k/a “Deon,”

did knowingly and intentionally distribute, and possess with intent to distribute, a mixture and

substance containing a detectable amount of cocaine base (crack cocaine), a Schedule II

controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(C).




                                        COUNT THREE

       On or about December 22, 2016, within the State and District of Colorado, the

defendants,

                              ALICIA HOLLANDS, and
                              OMAR TURNER,
                                   a/k/a “O,”

did knowingly and intentionally distribute, and possess with intent to distribute, a mixture and

substance containing a detectable amount of cocaine base (crack cocaine), a Schedule II

controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(C).

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                                         COUNT FOUR

       On or about December 27, 2016, within the State and District of Colorado, the

defendants,

                              ALICIA HOLLANDS, and
                              OMAR TURNER,
                                   a/k/a “O,”

did knowingly and intentionally distribute, and possess with intent to distribute, a mixture and

substance containing a detectable amount of cocaine base (crack cocaine), a Schedule II

controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(C).



                                         COUNT FIVE

       On or about February 2, 2017, in the State and District of Colorado, the defendants,

                              JERRELL BIRCH,
                                   a/k/a ARell,@ and
                              TERRY DUNLAP,
                                   a/k/a “Terry Barlow,”

did knowingly and intentionally use a communication facility (telephone) in facilitating the

commission of a drug trafficking felony, that is, the knowing and intentional distribution and

possession with intent to distribute a mixture and substance containing a detectable amount of

cocaine base (crack cocaine), a Schedule II controlled substance, in violation of Title 21, United

States Code, Section 841(a)(1) and 841(b)(1)(C).

       All in violation of Title 21, United States Code, Section 843(b).



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                                          COUNT SIX

       On or about February 3, 2017, in the State and District of Colorado, the defendants,

                              JERRELL BIRCH,
                                   a/k/a ARell,@ and
                              SHAMAR CAMERON,

did knowingly and intentionally use a communication facility (telephone) in facilitating the

commission of a drug trafficking felony, that is, the knowing and intentional distribution and

possession with intent to distribute a mixture and substance containing a detectable amount of

cocaine, a Schedule II controlled substance, in violation of Title 21, United States Code, Section

841(a)(1) and 841(b)(1)(C).

       All in violation of Title 21, United States Code, Section 843(b).



                                        COUNT SEVEN

       On or about February 3, 2017, in the State and District of Colorado, the defendants,

                              JERRELL BIRCH,
                                   a/k/a ARell,@ and
                              LAKEISHA SMITH,
                                   a/k/a “Keisha,”

did knowingly and intentionally use a communication facility (telephone) in facilitating the

commission of a drug trafficking felony, that is, the knowing and intentional distribution and

possession with intent to distribute a mixture and substance containing a detectable amount of

cocaine, a Schedule II controlled substance, in violation of Title 21, United States Code, Section

841(a)(1) and 841(b)(1)(C).

       All in violation of Title 21, United States Code, Section 843(b).



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                                        COUNT EIGHT

       On or about February 3, 2017, within the State and District of Colorado, the defendants,

                              JERRELL BIRCH,
                                   a/k/a “Rell,” and
                              ALICIA HOLLANDS,

did knowingly and intentionally distribute, and possess with intent to distribute, a mixture and

substance containing a detectable amount of cocaine, a Schedule II controlled substance, in

violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).



                                         COUNT NINE

       On or about February 3, 2017, in the State and District of Colorado, the defendants,

                              JERRELL BIRCH,
                                   a/k/a ARell,@ and
                              ROBERT ROSEBERRY,
                                   a/k/a “Cereus Loc,”

did knowingly and intentionally use a communication facility (telephone) in facilitating the

commission of a drug trafficking felony, that is, the knowing and intentional distribution and

possession with intent to distribute a mixture and substance containing a detectable amount of

cocaine base (crack cocaine), a Schedule II controlled substance, in violation of Title 21, United

States Code, Section 841(a)(1) and 841(b)(1)(C).

       All in violation of Title 21, United States Code, Section 843(b).




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                                           COUNT TEN

       On or about February 3, 2017, within the State and District of Colorado, the defendants,


                              JERRELL BIRCH,
                                   a/k/a “Rell,”
                              LAKEISHA SMITH, and
                              MALCOLM RICHARDSON,
                                   a/k/a “Trig,”

did knowingly and intentionally distribute, and possess with intent to distribute a mixture and

substance containing a detectable amount of cocaine, a Schedule II controlled substance, in

violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C), and did

knowingly and intentionally aid, abet, counsel, command, induce and procure the same.

       All in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(C), and

Title 18, United States Code, Section 2.

                                       COUNT ELEVEN

       On or about February 11, 2017, in the State and District of Colorado, the defendants,

                              JERRELL BIRCH,
                                   a/k/a ARell,@
                              SHAMAR CAMERON, and
                              ALICIA HOLLANDS,


did knowingly and intentionally use a communication facility (telephone) in facilitating the

commission of a drug trafficking felony, that is, the knowing and intentional distribution and

possession with intent to distribute a mixture and substance containing a detectable amount of

cocaine base (crack cocaine), a Schedule II controlled substance, in violation of Title 21, United

States Code, Section 841(a)(1) and 841(b)(1)(C).

       All in violation of Title 21, United States Code, Section 843(b).

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                                       COUNT TWELVE

       On or about February 13, 2017, in the State and District of Colorado, the defendants,

                              JERRELL BIRCH,
                                   a/k/a ARell,@ and
                              SHAMAR CAMERON,

did knowingly and intentionally use a communication facility (telephone) in facilitating the

commission of a drug trafficking felony, that is, the knowing and intentional distribution and

possession with intent to distribute a mixture and substance containing a detectable amount of

cocaine, a Schedule II controlled substance, in violation of Title 21, United States Code, Section

841(a)(1) and 841(b)(1)(C).

       All in violation of Title 21, United States Code, Section 843(b).



                                      COUNT THIRTEEN

       On or about February 13, 2017, in the State and District of Colorado, the defendants,

                              JERRELL BIRCH,
                                   a/k/a ARell,@ and
                              TERRY DUNLAP,
                                   a/k/a “Terry Barlow,”

did knowingly and intentionally use a communication facility (telephone) in facilitating the

commission of a drug trafficking felony, that is, the knowing and intentional distribution and

possession with intent to distribute a mixture and substance containing a detectable amount of

cocaine base (crack cocaine), a Schedule II controlled substance, in violation of Title 21, United

States Code, Section 841(a)(1) and 841(b)(1)(C).

       All in violation of Title 21, United States Code, Section 843(b).



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                                     COUNT FOURTEEN

       On or about February 15, 2017, within the State and District of Colorado, the defendants,

                              JERRELL BIRCH,
                                   a/k/a “Rell,” and
                              DANIEL EPPERSON,

did knowingly and intentionally distribute, and possess with intent to distribute, a mixture and

substance containing a detectable amount of cocaine base (crack cocaine), a Schedule II

controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(C).



                                       COUNT FIFTEEN

       On or about February 15, 2017, in the State and District of Colorado, the defendants,

                              JERRELL BIRCH,
                                   a/k/a ARell,@ and
                              TERRY DUNLAP,
                                   a/k/a “Terry Barlow,”

did knowingly and intentionally use a communication facility (telephone) in facilitating the

commission of a drug trafficking felony, that is, the knowing and intentional distribution and

possession with intent to distribute a mixture and substance containing a detectable amount of

cocaine base (crack cocaine), a Schedule II controlled substance, in violation of Title 21, United

States Code, Section 841(a)(1) and 841(b)(1)(C).

       All in violation of Title 21, United States Code, Section 843(b).




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                                       COUNT SIXTEEN

       On or about February 18, 2017, in the State and District of Colorado, the defendant,

                              PIEA BENNETT,

did knowingly and intentionally use a communication facility (telephone) in facilitating the

commission of a drug trafficking felony, that is, the knowing and intentional distribution and

possession with intent to distribute a mixture and substance containing a detectable amount of

cocaine base (crack cocaine), a Schedule II controlled substance, in violation of Title 21, United

States Code, Section 841(a)(1) and 841(b)(1)(C).

       All in violation of Title 21, United States Code, Section 843(b).



                                     COUNT SEVENTEEN

       On or about February 19, 2017, within the State and District of Colorado, the defendants,

                              JERRELL BIRCH,
                                   a/k/a “Rell,” and
                              CLARENCE DEARING,
                                   a/k/a “Deon,”

did knowingly and intentionally distribute, and possess with intent to distribute, 28 grams or

more of a mixture and substance containing a detectable amount of cocaine base (crack cocaine),

a Schedule II controlled substance, in violation of Title 21, United States Code, Sections

841(a)(1) and 841(b)(1)(B)(iii), and did knowingly and intentionally aid, abet, counsel,

command, induce and procure the same.

       All in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(B)(iii), and

Title 18, United States Code, Section 2.



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                                     COUNT EIGHTEEN

       On or about February 22, 2017, in the State and District of Colorado, the defendants,

                              PIEA BENNETT, and
                              CLARENCE DEARING,
                                    a/k/a “Deon,”

did knowingly and intentionally use a communication facility (telephone) in facilitating the

commission of a drug trafficking felony, that is, the knowing and intentional distribution and

possession with intent to distribute a mixture and substance containing a detectable amount of

cocaine base (crack cocaine), a Schedule II controlled substance, in violation of Title 21, United

States Code, Section 841(a)(1) and 841(b)(1)(C).

       All in violation of Title 21, United States Code, Section 843(b).



                                      COUNT NINETEEN

       On or about March 2, 2017, in the State and District of Colorado, the defendants,

                              JERRELL BIRCH,
                                   a/k/a ARell,@ and
                              TERRY DUNLAP,
                                   a/k/a “Terry Barlow,”

did knowingly and intentionally use a communication facility (telephone) in facilitating the

commission of a drug trafficking felony, that is, the knowing and intentional distribution and

possession with intent to distribute a mixture and substance containing a detectable amount of

cocaine base (crack cocaine), a Schedule II controlled substance, in violation of Title 21, United

States Code, Section 841(a)(1) and 841(b)(1)(C).

       All in violation of Title 21, United States Code, Section 843(b).



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                                       COUNT TWENTY

       On or about March 4, 2017, within the State and District of Colorado, the defendants,

                              JERRELL BIRCH,
                                   a/k/a “Rell,” and
                              LAKEISHA SMITH,
                                   a/k/a “Keisha,”

did knowingly and intentionally distribute, and possess with intent to distribute, a mixture and

substance containing a detectable amount of cocaine, a Schedule II controlled substance, in

violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).



                                   COUNT TWENTY-ONE

       On or about March 7, 2017, within the State and District of Colorado, the defendants,

                              JERRELL BIRCH,
                                   a/k/a “Rell,” and
                              LAKEISHA SMITH,
                                   a/k/a “Keisha,”

did knowingly and intentionally distribute, and possess with intent to distribute, a mixture and

substance containing a detectable amount of cocaine, a Schedule II controlled substance, in

violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).



                                   COUNT TWENTY-TWO

       On or about March 8, 2017, within the State and District of Colorado, the defendants,

                              JERRELL BIRCH,
                                   a/k/a “Rell,” and
                              FERNANDO DURAN,

did knowingly and intentionally distribute, and possess with intent to distribute, a mixture and


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substance containing a detectable amount of cocaine, a Schedule II controlled substance, in

violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).



                                   COUNT TWENTY-THREE

       On or about March 11, 2017, in the State and District of Colorado, the defendants,

                              JERRELL BIRCH,
                                   a/k/a ARell,@ and
                              SHARIA CROWLEY,

did knowingly and intentionally use a communication facility (telephone) in facilitating the

commission of a drug trafficking felony, that is, the knowing and intentional distribution and

possession with intent to distribute a mixture and substance containing a detectable amount of

cocaine, a Schedule II controlled substance, in violation of Title 21, United States Code, Section

841(a)(1) and 841(b)(1)(C).

       All in violation of Title 21, United States Code, Section 843(b).



                                   COUNT TWENTY-FOUR

       On or about March 11, 2017, within the State and District of Colorado, the defendants,

                              JERRELL BIRCH,
                                   a/k/a “Rell,” and
                              FERNANDO DURAN,

did knowingly and intentionally distribute, and possess with intent to distribute, 28 grams or

more of a mixture and substance containing a detectable amount of cocaine base (crack cocaine),

a Schedule II controlled substance, in violation of Title 21, United States Code, Sections

841(a)(1) and 841(b)(1)(B)(iii).


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                                   COUNT TWENTY-FIVE

       On or about March 15, 2017, in the State and District of Colorado, the defendants,

                              JERRELL BIRCH,
                                    a/k/a ARell,@ and
                              PIEA BENNETT,

did knowingly and intentionally use a communication facility (telephone) in facilitating the

commission of a drug trafficking felony, that is, the knowing and intentional distribution and

possession with intent to distribute a mixture and substance containing a detectable amount of

cocaine base (crack cocaine), a Schedule II controlled substance, in violation of Title 21, United

States Code, Section 841(a)(1) and 841(b)(1)(C).

       All in violation of Title 21, United States Code, Section 843(b).



                                    COUNT TWENTY-SIX

       On or about March 18, 2017, in the State and District of Colorado, the defendants,

                              JERRELL BIRCH,
                                   a/k/a ARell,@ and
                              SHARIA CROWLEY,

did knowingly and intentionally use a communication facility (telephone) in facilitating the

commission of a drug trafficking felony, that is, the knowing and intentional distribution and

possession with intent to distribute a mixture and substance containing a detectable amount of

cocaine, a Schedule II controlled substance, in violation of Title 21, United States Code, Section

841(a)(1) and 841(b)(1)(C).

       All in violation of Title 21, United States Code, Section 843(b).


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                                  COUNT TWENTY-SEVEN

       On or about March 19, 2017, in the State and District of Colorado, the defendants,

                              JERRELL BIRCH,
                                   a/k/a ARell,@ and
                              ALICIA HOLLANDS,

did knowingly and intentionally use a communication facility (telephone) in facilitating the

commission of a drug trafficking felony, that is, the knowing and intentional distribution and

possession with intent to distribute a mixture and substance containing a detectable amount of

cocaine base (crack cocaine), a Schedule II controlled substance, in violation of Title 21, United

States Code, Section 841(a)(1) and 841(b)(1)(C).

       All in violation of Title 21, United States Code, Section 843(b).



                                  COUNT TWENTY-EIGHT

       On or about March 22, 2017, within the State and District of Colorado, the defendant,

                              PIEA BENNETT,

did knowingly and intentionally distribute, and possess with intent to distribute, a mixture and

substance containing a detectable amount of cocaine base (crack cocaine), a Schedule II

controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(C).



                                   COUNT TWENTY-NINE

       On or about March 23, 2017, within the State and District of Colorado, the defendants,


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                              JERRELL BIRCH,
                                   a/k/a “Rell,” and
                              JOHNNY LOVE,
                                   a/k/a “J-Love,”

did knowingly and intentionally distribute, and possess with intent to distribute, a mixture and

substance containing a detectable amount of cocaine, a Schedule II controlled substance, in

violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).



                                       COUNT THIRTY

       On or about March 27, 2017, within the State and District of Colorado, the defendants,

                              JERRELL BIRCH,
                                   a/k/a “Rell,” and
                              JOHNNY LOVE,
                                   a/k/a “J-Love,”

did knowingly and intentionally distribute, and possess with intent to distribute, a mixture and

substance containing a detectable amount of cocaine, a Schedule II controlled substance, in

violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).



                                    COUNT THIRTY-ONE

       On or about March 28, 2017, within the State and District of Colorado, the defendants,

                              JERRELL BIRCH,
                                   a/k/a “Rell,” and
                              SHARIA CROWLEY,

did knowingly and intentionally distribute, and possess with intent to distribute, a mixture and

substance containing a detectable amount of cocaine, a Schedule II controlled substance, in

violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).


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                                    COUNT THIRTY-TWO

       On or about March 28, 2017, in the State and District of Colorado, the defendant

SHARIA CROWLEY, did knowingly possess a firearm, to wit: a Smith and Wesson 40 caliber,

Model 3026 handgun, in furtherance of a drug trafficking crime, for which she may be

prosecuted in a court of the United States, namely the offense charged in Count Thirty-One. All

in violation of Title 18, United States Code, Sections 924(c)(1)(A)(i).



                                  COUNT THIRTY-THREE

       On or about March 31, 2017, within the State and District of Colorado, the defendants,

                              JERRELL BIRCH,
                                   a/k/a “Rell,” and
                              JOHNNY LOVE,
                                   a/k/a “J-Love,”

did knowingly and intentionally distribute, and possess with intent to distribute, a mixture and

substance containing a detectable amount of cocaine, a Schedule II controlled substance, in

violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).



                                  NOTICE OF FORFEITURE

       As a result of the foregoing offenses, violations of Title 18, United States Code, Section

2, Title 18, United States Code, Section 924(c)(1)(A)(i), and Title 21, United States Code,

Sections 841(a)(1), 841(b)(1)(B)(iii), 841(b)(1)(C), 843(b) and 846, the defendants,


                              JERRELL BIRCH,
                                   a/k/a “Rell,”

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                              PIEA BENNETT,
                              SHAMAR CAMERON,
                              SHARIA CROWLEY,
                              CLARENCE DEARING,
                                    a/k/a “Deon,”
                              TERRY DUNLAP,
                                    a/k/a “Terry Barlow,”
                              FERNANDO DURAN,
                              DANIEL EPPERSON,
                              ALICIA HOLLANDS,
                              JOHNNY LOVE
                                    a/k/a “J-Love,”
                              MALCOLM RICHARDSON,
                                    a/k/a “Trig,”
                              ROBERT ROSEBERRY,
                                    a/k/a “Cereus Loc,”
                              LAKEISHA SMITH,
                                    a/k/a “Keisha,”
                              OMAR TURNER,
                                    a/k/a “O,”


       shall forfeit to the United States any and all property, real or personal, constituting or

derived from any proceeds the said defendant obtained directly or indirectly as a result of the

said violation, and any and all property used or intended to be used in any manner or part to

commit and to facilitate the commission of the violations alleged in this Indictment.

       If any of the property subject to forfeiture as a result of any act or omission of the

defendant:

               A.      cannot be located upon the exercise of due diligence;

               B.     has been transferred to sold to or deposited with a third person;

               C.     has been placed beyond the jurisdiction of this Court;

               D.      has been substantially diminished in value; or

               E.     has been co-mingled with other property which cannot be subdivided


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                       without difficulty;

       it is the intent of the United States, pursuant to Title 21, United States Code, Section

853(p), to seek forfeiture of any other property of said defendant up to the value of the forfeitable

property.

       All in violation of Title 21, United States Code, Section 853.



                       A TRUE BILL:

                       Ink signature on file in Clerk’s Office

                       GRAND JURY FOREPERSON




       ROBERT C. TROYER
       ACTING UNITED STATES ATTORNEY


By: s/Susan D. Knox
      SUSAN D. KNOX
      Assistant United States Attorney
      United States Attorney=s Office
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